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                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

 In re:                                                     §
                                                            §
 BAILEY TOOL &                                              §               Case No. 16-30503-SGJ-7
 MANUFACTURING COMPANY.                                     §               Chapter 7
                                                            §
          Debtor.                                           §
                                                            §
                                                            §
 BAILEY TOOL &                                              §
 MANUFACTURING COMPANY,                                     §
 HUNT HINGES, INC. and                                      §
 CAFARELLI METALS, INC.,                                    §
                                                            §
          Plaintiffs,                                       §
                                                            §
 v.                                                         §            Adv. No. 16-03025-SGJ
                                                            §
 REPUBLIC BUSINESS CREDIT, LLC,                             §
                                                            §
          Defendant and Counter-Plaintiff,                  §
                                                            §
 v.                                                         §
                                                            §
 BAILEY TOOL &                                              §
 MANUFACTURING COMPANY,                                     §
 HUNT HINGES, INC. and                                      §
 CAFARELLI METALS, INC.,                                    §
                                                            §
          Counter-Defendant.                                §
                                                            §

 REPUBLIC BUSINESS CREDIT, LLC,                             §
                                                            §
          Third-Party Plaintiff,                            §
                                                            §
 v.                                                         §

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                                                    §
 JOHN BUTTLES, TENNECO, INC.,                       §
 TRELLEBORG AUTOMOTIVE                              §
 USA, INC.                                          §
                                                    §
              Third-Party Defendants.               §

                        PLAINTIFF TRUSTEE’S PROPOSED FINDINGS
                           OF FACT AND CONCLUSIONS OF LAW

         COME NOW Plaintiff James W. Cunningham, Trustee and Plaintiff and submits the

following Proposed Findings of Fact and Conclusions of Law.

                                                I.
                                         FINDINGS OF FACT

A.       Procedural Background and Parties.

         1.       Bailey Tool & Manufacturing Company (“Bailey”) is a Texas corporation and was

a debtor and debtor-in-possession in the above-captioned, jointly administered bankruptcy cases

until the cases were converted to Chapter 7 cases and James W. Cunningham was appointed the

Trustee of Bailey’s Bankruptcy Estate.

         2.       Hunt Hinges, Inc. (“Hunt”) is a Texas corporation and a debtor and debtor-in-

possession in the above-captioned, jointly administered bankruptcy cases until the cases were

converted to Chapter 7 cases and James W. Cunningham was appointed the Trustee of Hunt’s

Bankruptcy Estate.

         3.       Cafarelli Metals, Inc. (“Cafarelli”) is a Texas corporation and a debtor and debtor-

in-possession in the above-captioned, jointly administered bankruptcy cases until the cases were

converted to Chapter 7 cases and James W. Cunningham was appointed the Trustee of Cafarelli’s

Bankruptcy Estate.

         4.       Collectively, the foregoing entities may be referred to herein as “Bailey,” “Debtors”

or “Company.”


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         5.     Republic Business Credit, LLC (“Republic”) is a Louisiana limited liability

company authorized and conducting business in Texas.

         6.     On February 1, 2016 (the “Petition Date”), the Debtors each filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code, commencing their respective

bankruptcy cases.

         7.     The Debtors continued to operate and manage their businesses as “debtors in

possession” pursuant to sections 1107 and 1108 of the Bankruptcy Code until January 26, 2017.

         8.     On February 19, 2016, the Debtors filed an adversary proceeding against Republic,

which asserted numerous claims against Republic. On March 23, 2016, Republic filed an answer

to the adversary complaint.

         9.     On May 31, 2016, Republic filed an Amended Answer and Counterclaim, which

pleading asserted new claims against the Debtors’ former owner, John Buttles (“Buttles”). A

formal appearance, answer, and third-party counterclaim was filed on September 23, 2016.

         10.    On January 26, 2017, the case was converted to a Chapter 7, and James W.

Cunningham was appointed Chapter 7 Trustee (“Cunningham” or the “Trustee”) on January 27,

2017, pursuant to 11 U.S.C. § 701(a).

B.       General History of the Debtors.

         i.     The Debtors’ Business.

         11.    In 1989, John Buttles bought the company that ultimately became known as Hunt

Hinges Inc. Four years later, in 1993, Buttles acquired Bailey Tool & Equipment Company, which

was founded in 1969. Approximately five years later Buttles continued to build the enterprise by

acquiring Cafarelli Metals, Inc.

         12.    Hunt created and manufactured metal hinges; Bailey was a metal fabrication

company; and Cafarelli slit metal coils to custom widths for Bailey, Hunt, and outside customers,

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to use in manufacturing their products. Over time, Buttles expanded the combined companies’

capabilities to include not merely metal fabrication, but also product engineering and design.

         13.    Historically, Bailey’s core customers were Tier One and Two suppliers to

automotive manufacturers in the United States and Mexico. The company operated in three

locations in the Dallas area, employed as many as 130 people, and had annual revenues ranging

from $7.9 million to $11.6 million in 2012-2014. See TR.509, 511

         14.    In the economic downturn of 2008-9, the auto industry suffered significantly, and

so did Bailey’s business. In response, the Company expanded into manufacturing oilfield service

equipment. It also used its engineering and design abilities to develop entirely new opportunities.

         15.    One of Bailey’s most promising new opportunities came in defense contracting.

When Bailey entered the area, ammunition manufacture still used machines built during World

War II. Under contract with the United States Army, Bailey designed and built an entirely new

and more efficient machine for manufacturing bullets, using state-of-the-art technology and

processes. This project created a new pair of markets for Bailey, not only designing and building

the machines but also manufacturing bullets.

         ii.    The Factoring Agreement and Bailey’s Early Dealings with Republic.

         16.    While the Company had made progress in developing new markets after the Great

Recession, it was still in transition, revenues had not yet returned to pre-Recession levels, and its

new markets continued to demand additional capital for research and development. It was in this

context that its primary lender, Comerica Bank, asked the Company to move its business in 2014.

         17.    Bailey found a receptive audience at Regions Bank. As part of the move, Regions

suggested Bailey utilize a factoring company for a few months as a bridge from Comerica to

Regions. While this factoring “cleanup” period occurred, the rest of the Bailey debt (two notes



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secured by the real estate and guaranteed by Buttles, where the Company’s plants were located)

would remain at Comerica.

         18.    Bailey was not opposed to this suggestion because it had successfully used a factor

some years before following another economic downturn.           One of the companies Regions

recommended was Republic Business Credit.

         19.    In late 2014 and in early 2015, the Company discussed a factoring and inventory

financing package with Republic Business Credit, LLC to meet its working capital needs. The

arrangement was intended to be the short-term bridge that Regions had suggested.

         20.    Republic’s due diligence lasted from October 2014 through February 2015. Bailey

showed Republic every document requested. LaCour Miller was responsible for the underwriting

on behalf of Republic.

         21.    Republic’s due diligence culminated in a December 31, 2014, report and

accompanying e-mail from Mr. Miller to Republic’s Credit Committee. Based on Republic’s due

diligence, Mr. Miller assessed the proposed transaction as a “strong deal” for Republic:




See TR.169.

         22.    Mr. Miller’s e-mail identified the following as the “known issues:”




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        Issue: Bailey had failed to pay its 2013 ad valorem taxes to Dallas County, owed $120,000
         on that bill, and was engaged in a payment plan agreed to by the County of $20,000 per
         month; it had not paid its 2014 ad valorems, either;
         o        Solution: To deal with the tax arrearages, Miller recommended that Republic take
                  control over tax payments from Bailey after the deal closed;
        Issue: Bailey’s accounts payable were stretched well beyond 90 days, and half of its trade
         debt was more than a year old;
         o        Solution: Bailey acknowledged that it could probably settle its outstanding trade
                  debt for fifty cents on the dollar, but didn’t want to do so, and was making a priority
                  for paying down old accounts payable;
        Issue: Bailey stood a good chance of receiving further orders from the Defense Department
         for its bullet machine, but payments were made on a milestone rather than progress billing
         basis;
         o        Solution: Milestone payments, being irregular, are unattractive to a factor and
                  would need to be closely monitored, so Republic indicated a need to review future
                  contracts and bill on progress rather than milestones.

See TR.509, 511.

         23.    Based on Mr. Miller’s e-mail and the attached “Credit Committee Application,”

Republic’s Credit Committee approved the deal the same day Mr. Miller submitted his report.

Allen Frederic, Republic’s COO, and Stewart Chesters, Republic’s CEO, both expressly approved

the transaction:




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TR.508.

         24.    Before the Credit Committee’s approval, Miller sought confirmation from Bailey

on how it would spend the money to be initially advanced by Republic. The Company’s CFO,

Jeff Worley, replied that it intended to use the money to pay off Comerica, meet immediate

working capital needs, and ramp up manufacturing in the early months of the year:




TR. 681 (December 31, 2014 e-mail from Worley to Miller).

         25.    In their negotiations, Republic represented Bailey’s advance rate on receivables

would be 90%, and Republic would take its fees and expenses out of the 10% held back. In fact,

the advance rate on receivables was a focal point of negotiations:




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TR.166.

         26.     Periodically, Republic was to return the unused 10% holdback to Bailey. The

factoring agreement had a facility limit of $2.5 million.

         27.     Republic also told Buttles that the mechanics of the factoring relationship would be

the following:

                      Bailey ships product, and sends its customer an invoice;
                      Bailey simultaneously, or shortly thereafter, submits the receivable to
                       Republic;
                      Republic promptly examines the receivable and determines whether it is
                       eligible for an advance;
                      If eligible, Republic wires 90% of the receivable to Bailey within 24 hours;
                      Republic promptly returns ineligible receivables to Bailey;
                      Customer payment goes to Republic’s lockbox; and
                      Republic takes its fees from the customer payment and returns the balance
                       to Bailey.
         28.     Republic told Buttles that the relationship would be mutually beneficial:

                        Bailey benefits from the expedited cash flow, for which it pays a reasonable
                         fee;
                        Republic benefits because it receives a premium over the rates charged for
                         other financing arrangements; and


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                       Bailey continues to operate its business and achieve its goals.
         29.     Based on those representations, Bailey moved forward with the transaction.

         iii.    Republic Analyzes Bailey’s Receivables.

         30.     Because Republic borrowed money to fund the Comerica takeout,1 Republic had to

demonstrate to its own lenders that Bailey would provide sufficient collateral to justify their loan

to Republic.

         31.     Unknown to Bailey at the time, Republic, just days prior to signing the factoring

agreement, became concerned about the collectability of the United States Army receivable. (the

“Army Receivable” or the “Army”). In a series of in-house emails, Republic officers debated

how much credit to give it.

         32.     Republic’s underwriter, LaCour Miller, set out the problem. If Republic made the

entire Army Receivable ineligible, Bailey’s collateral would be approximately $50,000 short of

the Comerica payoff. On the other hand, if Republic gave full credit to the Army, Republic could

pay off Comerica and still have $213,067.05 available to advance to Bailey:




1
 Prior to the factoring agreement, Comerica had a first priority lien against Bailey’s receivables. Accordingly,
Comerica’s lien had to be taken out as part of the Bailey/Republic transaction.

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TR.521.

         33.    Republic’s management did neither.     Instead, COO Stuart Chesters chose to

“mitigate risk:” by reducing the advance rate on the Army receivable to 65%:




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See TR.524.

         34.    To that, CEO Allen Frederic added that in addition to the lower advance rate,

Republic could further protect itself by making the receivables ineligible “at a later date:”




See TR.521.

         35.    No one at Republic told the Company or Buttles about the discussions and concerns

regarding the Army Receivable. More importantly, Republic did not tell Bailey or Buttles of the

risk that it would deem the Army Receivable ineligible right after the deal was signed.

         36.    Instead, on February 24, 2015, Republic sent the Borrowing Base Certificate to

Bailey showing $124,700 of immediate availability after the takeout of Comerica, along with the

transactional documents for signature. See, e.g., TR.718 (February 25, 2015 e-mail from Miller

to Worley with attached borrowing base).


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         37.    Based on Republic’s representations and the Borrowing Base Certificate described

above, on February 27, 2015, Bailey and Buttles signed the “Agreement for Purchase and Sale”

(the “Factoring Agreement”), the Inventory Loan, and Buttles’ personal guaranty, effective on

February 25, 2015. (collectively, the “Agreements”). See TR.51-53. At the time, Bailey

understood that it had $124,700 of funds available to draw, as soon as Republic did the takeout.

         38.    In late-February or early-March 2015, Republic paid Comerica the $1,257,978.66.

TR.703 (Subordination Agreement between Republic and Comerica).

         39.    In mid-March 2015, Bailey made its first draw request, expecting availability in the

range of the Borrowing Base Certificate received on February 25.

         40.    In response (and much to Bailey’s amazement), Republic Relationship Manager

Vanessa Blade sent a Borrowing Base Certificate showing that Bailey’s ineligible accounts had

jumped from $17,000 on February 24 to $142,310.87 on March 12, greatly reducing Bailey’s

availability. See TR.715. Only then did Bailey learn that once it had signed the Factoring

Agreement, Republic decreed that the Army was no longer an “eligible receivable.”

         41.    Bailey promptly brought the issue to Republic’s attention:




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See TR.719.

         42.    Republic did not budge. Instead, it told Bailey that although no funds were

available under the formulas previously represented to it, Republic would be willing to make an

“overadvance,” but such funds would cost the Company a “Service Fee 2.0% of over-advance

balance each 30 days or partial increment thereof Prime + 9.75% based on 360 days amortization

on actual daily balance.” TR.529.

         43.    The deal that Republic imposed in mid-March was not the one Bailey signed up for

a mere three weeks before. Nonetheless, Bailey was stuck: its old Comerica revolver no longer

existed, and it had to make the best of the new situation until it could move the relationship to

Regions Bank. Accordingly, the Company moved ahead, having to deal with funds suddenly less

available and costing much more.

         44.    Republic’s treatment of Bailey in the spring and early summer of 2015 showed that

it never intended to live up to the representations made before the Agreements were signed.

         iv.    Republic Declares Default and Takes Control of Bailey’s Business.

         45.    The consequence of Republic’s unilaterally chopping the advance rate and

availability was self-evident: Bailey’s ability to operate and pay its debts suffered immediate

damage, just as Worley forecasted in March.

         46.    Within two months, Bailey did not have the cash to meet its bills, including the full

May installment of its tax payment plan with Dallas County; in June, it could not make its monthly

payment on the arrearage.

         47.    On June 29, 2015, Comerica sent Bailey and Buttles notice of default under its loan

and guaranty agreements precisely because of those missed payments. When Republic learned of

the default, the real punishment began.



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         48.     Republic declared default under the Agreements on July 9, 2015 (DX.100), and

swiftly changed the game even further.

         49.     Under Republic’s new “rules,” it demanded control of Bailey’s day-to-day

operation as a quid pro quo for giving Bailey any money at all. Moreover, Republic completely

ceased advancing funds directly to Bailey – all funds advanced from that point forward were

sent directly to Bailey’s vendors, payroll company, etc. by Republic.2

         50.     Republic also ceased to factor. In other words, advances were not tied to the

receivables purchased. Instead, Republic required Bailey to provide a list of payables to Republic

on a daily or weekly basis. Republic’s Risk Manager, Melissa Baines, would then decide which

of Bailey’s payables she would pay based on whether or not the payable itself would “generate

new receivables.”

         51.     Ms. Baines summarized Republic’s new view of the “factoring” arrangement in a

July 10, 2015 e-mail to Buttles:




2
 Republic’s new “rules” were outside the parties’ contract – the Agreements specifically defined an “Advance” as a
payment by Republic to Bailey. See TR.51 Agreement of Purchase and Sale, p. 3, paragraph 2.

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TR. 688.

         52.    Ms. Baines had no formal education or practical experience in managing or running

a manufacturing business, yet that was exactly what Republic chose to let her do. Bailey suffered

immediate financial injury due to Ms. Baine’s mismanagement.

         53.    For example, Bailey needed oil to run its machines, and it owed money to its oil

supplier, Fuchs. Rather than advancing funds directly to Bailey so Bailey could pay Fuchs,

Republic required an explanation of “how much” in receivables would be generated if Republic

paid the oil supplier:




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TR.116.

         54.    Apparently, Ms. Baines did not understand that for a paltry $10,000, all of the

machines at Bailey could operate and fill whatever orders had been placed, but without that

$10,000 for oil, no production of any kind could take place because the machines could not be run

without oil. They would burn up.

         55.    Republic’s “rules” were not limited to Bailey’s suppliers. Republic (primarily

through Ms. Baines) used its complete control over the Company’s cash to take away from Bailey’s

management virtually all decisions that a company makes for itself.

         56.    For example, Ms. Baines inserted herself into Bailey’s personnel and human

resources management, decreeing funds would only be advanced for “actively employed AND

critical employees,” not those who were “non-engaged (i.e., not showing up on Monday.”):




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TR.717.

         57.    Not only did Ms. Baines refuse to “advance” funds for payroll without assurances

Bailey’s employees would continue to “show up,” but also that any employee receiving a paycheck

be “critical” and “add[] value to cash flow in the short term:”




TR.587.



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         58.     On production lines, all employees are critical, otherwise they would not be on the

line. On a human level they also needed these paychecks and had and would continue to work

hard for them.

         59.     Not only did Republic control how many workers should be employed, it also

sought to conspire with one of Bailey’s managers to have him replace John Buttles as president

and CEO. This attempt began with a request from Melissa Baines and Allen Frederic to meet with

Bob McGovern for a “confidential” discussion:




TR.133.

         60.     At that meeting, which occurred not at Bailey’s offices but fifteen miles away, at

the Stoneleigh Hotel, Baines and Frederic suggested that McGovern should persuade Buttles to

relinquish his role as president and chairman, and let McGovern fill those roles.

         61.     Republic even supplied McGovern with a draft board resolution and employment

agreement to carry out the plan:


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TR.135, 142 (Baines e-mail McGovern transmitting draft employment agreement).

         62.    In tandem with these negotiations, Allen Frederic not only approved McGovern’s

projected salary as president and CEO, but even opined that McGovern should be given an equity

participation in the company:




TR.138.

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         63.    On the same day, to keep the ball rolling, McGovern sent Baines a copy of his

resume.




TR.139.

         64.    A few days later, Baines sent McGovern a draft employment contract for his new

role as CEO/President. T.R.142. Realizing what thin ice she was on, she included a disclaimer

for any liability by Republic if the documents were used:




TR.142.




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         65.    Republic’s control of Bailey’s spending did not stop at vendors, personnel, and

attempts at executive appointments. It permeated every last detail of the Company’s operations.

Republic even micromanaged the Company’s purchase of basic office supplies.

         66.    In one instance, Republic refused to allow Bailey to purchase Gatorade for the

Bailey workers who worked in the un-air-conditioned shop in Texas in August!




TR.622. Proper hydration on a machine shop floor in an un-air-conditioned building in Texas in

August is not a luxury item.

         67.    Republic also resorted to intimidation tactics. At Bailey’s Expense, Republic hired

armed guards to patrol Bailey’s premises:




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TR.626.

         68.    Republic also criticized Bailey for entering into payment plans with critical

suppliers, suggesting instead that finding a new supplier was more favorable than paying past due

debts:




TR.619.

         69.    Republic’s control over Bailey’s business was intentional and deliberate. During

the July-October 2015 time period, Republic’s control over the Company exclusively benefited

Republic by accelerating Republic’s payoff.




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         70.    From July – November 2015, Republic’s advance rate dropped to only 33% of the

accounts assigned. After September 11, 2015, there were no – ZERO – advances whatsoever.

         71.    To be clear, for the last fifty-five days of the relationship (from September 12, 2015

through November 6, 2015), Bailey sent Republic $924,504.65 in receivables and received no

advances. Incredibly, RBC collected $921,100.81 of the Debtors’ receivables during the last fifty-

five days and gave the Debtors no advances whatsoever. Republic instead gave the Debtors

empty promises that if the Debtors would send in more receivables, RBC would begin “advancing”

funds again.

         72.    As a result, Republic’s unilateral control caused Bailey catastrophic harm.

Republic choked the Company’s ability to serve existing customers, generate new accounts

receivable, generate cash flow, and successfully transition into the Regions Bank relation. Further,

that control and decision-making destroyed Bailey’s relationship with its suppliers, ended its

ability to expand new lines of business, and crippled its chances to continue as a going concern.

         73.    Republic was, in fact, conducting an “unannounced liquidation” of Bailey

beginning in early-July, 2015, when Ms. Baines believed Republic was in the “best position” it

had been in with respect to collateral. TR.557.

         74.    In carrying out its “unannounced liquidation,” Republic was careful not to alert

Bailey or its customers of its plans, since doing so would have impaired Republic’s ability to

collect Bailey’s accounts receivable and allowed Bailey and its vendors to take actions to protect

themselves. For example, Ms. Baines expressly instructed others at Republic to conceal from

Bailey’s customers the true status of the business, fearing Republic’s ability to collect Bailey’s

receivables would be impaired if the customers knew the truth:




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TR.653.

         v.     Republic Demands and Gets a Lien on Buttles’ Homestead.

         75.    In addition to taking control of Bailey’s business, Republic forced CEO and owner

John Buttles, and his wife, Jennifer, to give Republic a lien on his Texas homestead. Republic

made this demand without regard to the prohibitions on such liens, which are well understood in

the commercial lending world.



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         76.    By the middle of July, Republic’s management was putting its homestead lien

demands in writing.




TR.721.

         77.    Republic represented that it was entitled to the mortgage and that it was necessary

to permit Bailey’s survival. The demands were part-carrot, part stick. On July 20, Ms. Baines was

telling Buttles that the lien would both “collateralize the [claimed] overadvance” and would also

“finance continued operations.” TR.721. Buttles was understandably slow to agree to the pressure

from either Baines or Allen Frederic, Republic’s CEO. Seeing the carrot fail, Allen Frederic

abandoned all pretense of arms’-length negotiation, or for that matter, courtesy:




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TR.254.

         78.    Consequently, on or about July 21, 2015, under extreme duress and the immediate

threat of losing the business, Mr. and Mrs. Buttles executed and delivered to Republic a mortgage

on their Dallas homestead, which is exempt from the claims of creditors under the Texas

Constitution and Texas homestead law. TR 583.

         79.    The Mortgage was invalid from inception and constituted a fraudulent and coercive

attempt by Republic to obtain rights and interests that it was never entitled. Moreover, the dialogue

to obtain the liens on the commercial buildings and Mr. and Mrs. Buttles’ homestead were fraught

with misrepresentations and outright fraud. They were made to both Buttles individually to trick

him into putting his and his wife’s homestead up for collateral, but also to Buttles as owner and

CEO of Bailey to put the commercial buildings up as additional collateral.

         80.    The misrepresentations were as follows:

                 There had been an over-Advance;
                 The Bailey commercial buildings and Mr. and Mrs. Buttles’ homestead would
                  only be used to collateralize this over-Advance and would never be enforced;




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                 This additional collateral was not intended to place RBC in an over-secured
                    position, such that it could cash out both the old and new collateral to be paid
                    back;
                 Once the additional collateral was secured, the 90% funding of receivables
                    would start again.
         81.    All of these statements were false and sufficient to meet the burden of proof for

fraud, misrepresentation or Deceptive Trade Practices.

         82.    First, there was no over-Advance. Next, Republic declared a default on the after

the supposed over-Advance had been paid, and took the cash from the sale of the Buttles’

homestead and paid itself a $75,000 Termination Fee. Bailey, based Republic’s continuing

misrepresentations, kept sending all of its accounts receivable religiously every day in the hope

it would get a true Advance. Between October 2, 2016 and November 6, 2015, Bailey sent

$487,431.76 in receivables to Republic.

         vi.    Republic Stops Funding Anyway.

         83.    After Republic seized control in early July, Bailey’s long-standing, core automotive

customers, such as Tenneco and Trelleborg, began to find that Bailey could not fill their orders in

a timely fashion.

         84.    These problems appeared immediately. On July 13, John Buttles told Melissa

Baines that Bailey’s delays in getting a press repaired were shutting down a Trane Heating & Air

Conditioning production line:




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TR.120.

         85.    Ever the stickler for documentation, Baines replied:




TR.120.

         86.    The problems also extended to Bailey’s automotive customers ten days after the

Trane difficulties. Bailey’s COO, Bob McGovern, was having to deal with the displeasure of

Peterbilt and Imperial, two of its largest automotive accounts:




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TR.585.

         87.    The problems with automotive customers were no better by August, 2015. On

August 11, a Tenneco procurement officer was telling Buttles that its delivery delays were

becoming critical:




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TR. 781 (RBC0013288).

         88.    Two weeks later, Bailey’s inability to perform threatened to shut down an entire

Tenneco factory in Mexico.




TR.622.

         89.    Although Republic was aware of these problems, it did not particularly care,

because its silent liquidation and debt reduction had greatly reduced its exposure. TR.653

(September 29, 2015 e-mail stating “We are nearing being in collect out status on this account…”).


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         90.    Given its success in debt reduction, by the middle of September Republic decided

that it no longer made sense to allow Bailey any more money. In fact, the last payment it made to

Bailey vendors was on September 11, 2015. TR.752 (Frederic Exhibit 29).

         vii.   Republic takes the Homestead Proceeds and Claims No Settlement.

         91.    Also during the middle of September, 2015, Republic stepped up its campaign to

get money from Buttles’ homestead. Buttles had received a purchase offer for the house, but the

closing was delayed by the title company’s consternation over Republic’s illegal lien. At that

point, Republic understood that there would be almost $464,000 net to the Buttles family, and it

demanded all of it. TR.745.

         92.    At the same time, Melissa Baines was telling Buttles that Republic’s receiving the

money would help cover the inventory loan and Army overadvance, allow Republic to start

funding the business again, and Buttles to resume receiving a salary:




TR.745.


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         93.    Republic’s demand for Buttles’ entire home equity was a shock to Buttles, even if

softened by the enticement of further funding for Bailey and salary resumption for Buttles.

Because Buttles resisted giving up all of his homestead equity, Baines and Frederic decided to add

more pressure by threatening him with fraud:




TR.753 (Frederic Exhibit 30).

         94.    Thirty-four minutes after devising the language, Baines sent those very words to

Buttles in an email dated 4:41 p.m. on September 15. Buttles answered the next day at 11:25 a.m.,

saying




TR.754 (Frederic Exhibit 31).

         95.    Upon receiving Buttles’ reply, Frederic exploded:




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TR.754 (Frederic Exhibit 31).

         96.    Two minutes later, Baines told Frederic there wasn’t unanimity in the C-suite,

because Stewart Chesters did not agree:




TR.755 (Frederic Exhibit 32).

         97.    Frederic responded that foreclosure was the only thing that will get movement from

Buttles:




TR.755 (Frederic Exhibit 32).

         98.    During the same conversation, Frederic told Baines to keep a guard posted at the

Bailey plant until Buttles gave them his homestead equity. TR.756 (Frederic Exhibit 33).



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         99.    Baines replied that while she was about to pull the guard service, upon getting

Frederic’s email she told the guard service to keep the guard on site, and the guard might be

increased to armed status:




TR.756 (Frederic Exhibit 33).

         100.   Less than an hour later, Frederic told Baines that negotiating with Buttles was

useless, and they simply had to remain firm:




TR.643.

         101.   Barely forty-five minutes later, Frederic reiterates his position take no prisoners

attitude toward Buttles:




TR.643.




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         102.   It was within the climate shown above that Bailey, Buttles, and Republic had

settlement discussion in late September and early October 2015 to resolve the outstanding issues

between them and permit Bailey to operate without interference or further demands from Republic.

See, e.g., TR.79 (Hayward Exhibit 1).

         103.   In the settlement correspondence, the most important portions of which occurred

from September 29 through October 2, 2015, Republic officers and counsel demanded $275,000

from the imminent home sale to fund the settlement then under discussion, and contribute the

remainder of the closing proceeds from the sale of the Homestead to Bailey to fund operations.

See, e.g., TR.79 (Hayward Exhibit 1). Subsequent exchanges of correspondence between the

Republic representatives reduced the cash component to be funded from the sale of the Buttles

Homestead to $225,000. See, e.g., TR.79 (Hayward Exhibit 1).

         104.   On September 30, 2015, Republic counsel Laurie Montplaisir wrote that the revised

settlement terms were acceptable and that she would begin preparation of a forbearance agreement.

See, e.g., TR.79 (Hayward Exhibit 1).

         105.   The Homestead sale closed on October 2, 2015, and the title company wired

$225,000 to Republic, which Republic agreed to hold in trust pending formal documentation of

the settlement, both as specifically agreed and as customary. Then, on the same day, Republic

pocketed the money and subsequently repudiated the settlement:




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TR.780.

         106.    This was contrary to Republic’s previous representations, and in breach of its

express agreements to hold the funds in trust, pending formal documentation of the settlement

agreement: See, e.g., TR.79. Republic then not only applied the funds to what it claimed was a

previous overadvance, after representing since July: (1) the Buttles’ residence would never be

needed to service the loan; it was facial security for what turned out to be a fictitious overadvance;

and (2) if this overadvance was covered, funding would start up again. All of these statements

were false.

         107.    As demonstrated in email exchanges, Buttles relied on Republic’s false

representations that: (i) it was necessary to sell the Homestead; (ii) Republic was entitled to the

net sale proceeds, $225,000 of which was necessary to conclude the settlement; (iii) Republic

either intended to or had concluded the settlement agreement.

         108.    Republic also interfered in the Homestead closing.              Its representatives

communicated directly with the title company to obtain the $225,000 from the sale. Republic’s

counsel instructed the title company that “Republic Business Credit has agreed to the $225,000

figure. Please confirm when the wire has been sent pursuant to the wire transfer instructions

previously sent to you.” TR.716. Because Buttles understood that a settlement had been reached

and only needed to be papered, he allowed the title company to send the funds to Republic. Then,

to Buttles’ amazement, he learned from Bailey’s new counsel that the settlement had broken down

but Republic refused to give the money back.

         viii.   The Secret Termination Fee.

         109.    On or about October 2, 2015 – the same day as Buttles’ homestead closing –

Republic took a $75,000 termination fee against money collected from Bailey’s accounts.

Republic gave the Company no formal notice of its taking the termination fee, but Republic told

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its own employees to conceal Bailey’s true condition from other creditors. Even though Republic

had not funded a single dollar since September 11, 2015. Republic told Bailey to continue

submitting accounts and promised it would fund operations.

          110.     Based on Republic’s promise (and failure to disclose the termination fee), Bailey

continued to submit receivables to Republic until November 5, 2015 ($487,431.76 in receivables

were sent to Republic between October 2 and November 6). Although Republic continued to

collect receivables, it advanced no additional funds to the Company.                    Hence, there was a

continuous flow of misrepresentations and deceptive statements to Debtors that if Debtors would

continue to send Republic their receivables, Republic would factor and fund them and send

operating funds to the Debtors.

          111.     The following timeline is instructive:



      September 11, 2015                    October 2, 2015                          November 5, 2015
                                      Forced Sale of Buttles’ House;
      Last Funding from                                                        Contract Termination Date Per
      Republic to Bailey                  Republic Takes Secret                         Court Order
                                       Termination Fee of $75,000

                                      Bailey Submits $487,431.76 in
       Bailey Submits                  Receivables after this date.
       $924,504.65 in                                                          Bailey Finally Catches On and
     Receivables after this                                                     Stops Sending Receivables
            date.




                  Continual Misrepresentations and Deceptive Statements by Republic

           $924,504.65 in Receivables sent after the last funding by Republic (9/11/15)3


    $487,431.76 in Receivables sent after Republic took the $75,000 Termination Fee (10/2/15)



3
 From the inception of the factoring agreement through November 5, 2015, Republic purchased $5,908,183.26 of the
Company’s receivables.

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         112.     Essentially, during this phase of their “relationship” Republic acted illegally in

claiming and enforcing a lien on the owner of Debtors’ homestead and acted totally in breach of

their Agreement in not giving Debtors money from Receivables Republic admitted it owed,

holding out for a release from Debtors to which Republic was not entitled.4

         113.     Worse yet, Republic continued to claim ownership of all Bailey’s Receivables and

demand a release as a condition to turning them over. Republic continued to claim ownership of

Bailey’s receivables until the Court held last year that Republic had no right to such a release.

         ix.      Republic is Paid in Full, but Attempts to Extort a Release from the Debtors.

         114.     After collecting Buttles’ homestead equity on October 2, 2015, Republic continued

to collect all the Company’s accounts receivable through the lockbox arrangement created at the

start of the relationship.

         115.     On November 5, 2015, the Company ceased submitting receivables to Republic.

See Dkt. 165, p. 6 (“According to the testimony of Marylyn Calder, the Debtors ceased submitting

Accounts to Republic on Assignment Schedules on November 5, 2015.”).

         116.     Nevertheless, having not funded since September 11, by mid-November 2015,

Republic had collected more than enough to pay off its facility in full. See TR.664 (cited below).

Those collections included the Army Receivable about which Republic had been so nervous that

it wrongfully lowered the cash advances available to Bailey:




4
  See Adv. Dkt. 165, p. 7 (“Republic argues that § 8.1 requires that any termination of an Agreement by a Debtor
requires the Debtor to sign a general release. This court disagrees.”). That Republic was not entitled to a release is
now law of the case.

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TR.663.

         117.   Not surprisingly, the effect on Bailey of receiving no money from its factoring for

two months was catastrophic.

         118.   After Republic collected the Army receivable, Ms. Baines alerted her superiors that

Republic was “collected out” of Bailey and that she was ready to send a General Release to Mr.

Buttles. Ms. Baines also admitted that: (1) all Default Rates and Termination Fees had been

recovered; and (2) she could not find any additional significant additional fees that Republic

“might be able to charge:”




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T.R. 664.

         119.   The same day, Ms. Baines sent an e-mail to John Buttles confirming the facility

had been paid in full, and stating that Republic was holding over $150,000 and would turn it over

to the Debtors so long as the Debtors executed full releases of any claims they had against

Republic:




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TR.255.

         119.   The Debtors declined to execute the release. See TR.777 and 775 (RBC0017598

and RBC0017607).

         120.   The Court has since held Republic was never entitled to hold out for a release since

it took the Termination Fee route to termination. See Adv. Dkt. 165, p. 7 (“Republic argues that

§ 8.1 requires that any termination of an Agreement by a Debtor requires the Debtor to sign a

general release. This court disagrees.”) (emphasis added).

         121.   The Court likewise held Republic did not own, and was not entitled to collect,

Bailey receivables generated on or after November 5, 2015. Only after filing a motion to enforce

the Court’s turnover order in the Summer of 2020 (over four years after Bailey’s bankruptcy filing)



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did Republic finally return the $82,121.58 it wrongfully collected on Bailey accounts generated

on or after November 5, 2015. See Dkt. 297 (“Order Regarding Trustee’s Motion to Enforce

Order and Compel Turnover”).

         x.     The Debtors File Chapter 11, and Republic Sabotages the Debtors’
                Opportunity to Reorganize.

         122.   From mid-November through Bailey’s bankruptcy filing on February 1, 2016 (the

“Petition Date,” Republic continued to collect Bailey’s accounts receivable.

         123.   In fact, as of the Petition Date, the Company and its counsel have calculated that

Republic was holding at least $450,000 that it had collected from Company customers, even

though its debt facility had been paid in full over three months prior.

         124.   Upon learning of the bankruptcy, Republic itself admitted holding $300,000 of

Bailey’s money in internal e-mail correspondence:




TR.701.

         125.   On and after the Petition Date, Republic continued to claim that: (i) the factoring

agreement had not been terminated, which (ii) gave it title to all of Bailey’s accounts receivable in

perpetuity, (iii) regardless of whether Bailey had tendered those accounts to Republic. This

behavior extended to Republic’s contacting Bailey customers post-petition and representing that

there was a “very active and non-terminated factoring agreement, which exists in place:”


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TR. 788; TR. 238.

         126.   Republic used that position (which has since been rejected by the Bankruptcy and

District Courts) as a sword every step of the way in the bankruptcy case. For example, Republic

argued that the Company could not use cash collateral or obtain DIP financing because Bailey

didn't own its receivables but had sold them all to Republic.



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         127.   Leaving aside Judge Dodd’s determination that the factoring agreement terminated

on November 5, 2015 (Adv. Dkt. 165), Republic’s position was insupportable, and should never

have been raised in the first place, given that (i) Republic had taken a termination fee; (ii) the

facility had been paid in full, (iii) Republic was not entitled to hold out for a release; and (iv)Bailey

notified Republic that Bailey considered the agreement terminated.

         128.   The Company’s reorganization failed because Republic held most of Bailey’s cash.

As a manufacturing company, it required cash to acquire raw materials and inventory to create the

products it sold to customers. Republic’s refusal to release the cash destroyed Bailey’s ability to

continue in business by severely limiting its working capital. In the process of doing so and

continues to wrongfully claim ownership of Bailey’s Receivables, Republic’s actions also

destroyed customer relations, which it had taken Bailey decades to develop, irreparably damaging

the Company and dooming its chapter 11 case to failure. The bankruptcy estate likewise incurred

$421,193.87 in Chapter 11 administrative expenses that Republic should be required to reimburse

as a result of its violations of the automatic stay and sabotage of the Debtors’ reorganization.

         xi.    Republic Celebrates Bailey’s Demise.

         129.   If any doubt remained about Republic’s motives, Risk Manager, Melissa Baines

put them to rest in an in-house email rejoicing at what she called Bailey’s “implosion,” and wishing

she could be in the courtroom to see the formal transfer from chapter 11 to chapter 7:




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TR.253.

         130.   Ms. Baines’ boss, Allen Frederic, suggested she should attend as a reward. TR.253

(“Go to the hearing, you earned it.”). Ms. Baines responded:




TR.253.


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         131.   Republic’s management was pleased with at the change since it expected this

adversary proceeding would go away since it could not be funded and the chapter 7 trustee would

be more “reasonable.” Id.

         132.   In addition to the difficulties caused Buttles by the liquidation of the Company,

Comerica Bank also brought suit against him personally on his guarantee of the Comerica debt in

December, 2018.        On May 12, 2020, Comerica obtained a judgment against Buttles for

$1,963,482.35, plus interest and attorneys’ fees. TR.497.

         133.   When put in a list, Republic’s destructive acts clarify why it must answer for its

actions. By the time of Bailey’s conversion to chapter 7, Republic had:

               Refused to advance funds under the Factoring Agreement in good faith;
               Exercised complete control over the Debtors’ business causing its failure;
               Misappropriated the equity from Buttles’ exempt homestead;
               Taken a secret termination fee of $75,000;
               Wrongfully held out for a release;
               Wrongfully exercised control over proceeds of Accounts created on or after
                November 5, 2015;
               Exercised control over funds withheld based on bogus fees, charges, penalties and
                fictitious “overadvances”;
               Knowingly violated the automatic stay;
               Prevented the Debtors from obtaining DIP financing by maintaining the absurd (and
                now judicially refuted) claim that Republic owned Bailey’s Accounts in perpetuity;
               Prevented the Debtors from maintaining existing customers or developing new
                customer and from reorganizing;
               Caused Buttles’ guaranty to Comerica to be called, and a judgment taken against
                him personally.
         134.   Republic’s actions destroyed a decades-old company, put dozens of employees

(many of whom lived paycheck-to-paycheck) out of work, and took away Buttles’ homestead.




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                                             II.
                                      CONCLUSIONS OF LAW

A.       Jurisdiction and Venue.

         135.   The Court has jurisdiction of this adversary proceeding under 28 U.S.C. § 1334.

This adversary proceeding contains some core causes of action proceeding under 28 U.S.C. §

157(b)(2)(A), (B), (E), (H), (K), and (O) and some non-core proceeding and causes of action.

         136.   Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.

         137.   To the extent the Court determines that any of the claims asserted herein are not

core, the Debtors expressly consented to the entry of final orders and judgments by the Bankruptcy

Court. All parties consented to the entry of Final Orders.

B.       The Debtors’ Claims.

         138.   The Debtors have asserted numerous alternate theories of relief in this adversary

proceeding. Distilled to their essence, the Debtors assert claims that Republic both failed to live

up to its end of the bargain captured in the Factoring Agreement and that Republic concealed its

liquidation efforts in a manner that did maximum harm to the Debtors ability to weather financial

storms. The Court will address the Debtors’ claims below.

                1. Breach of Contract.

         139.   Louisiana law controls the claims related to the parties’ contractual relationship.

The Factoring Agreement specifically requires that it “shall be governed by and construed in

accordance with the domestic laws” of Louisiana. The parties agree that Louisiana law governs

contract interpretation. The parties agree Texas law applies to matters ex contractu.

         140.   Louisiana law requires a plaintiff to establish three elements to prevail on a claim

for breach of contract. A plaintiff must establish “(1) the obligor’s undertaking an obligation to

perform, (2) the obligor failed to perform the obligation (the breach), and (3) the failure to perform



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resulted in damages to the oblige.” Favrot v. Favrot, 68 So.3d 1099, 1109-10 (La. App. 4 Cir.

2011). Plaintiff has established by a preponderance of evidence each of the elements for a breach

of contract.

         141.   Republic and the Debtors entered into a contract when they executed the Factoring

Agreement. The Factoring Agreement obligated Republic to advance funds up to 90% of the Net

Aggregate Face Value of accounts it “purchased” pursuant to the Factoring Agreement. Republic

failed to advance any funds after September 11, 2015 but did not tell Bailey that was to be the

case. Republic’s last advances or fundings occurred on or about September 11, 2015 for the

approximate amount of only $5,500. Despite a clear obligation to advance funds for the Net

Aggregate Face Value of accounts assigned up to 90% of that value, Republic collected $968,000

from September 11, 2015 to November 5, 2015 on “purchased” invoices but advanced nothing,

hence the quotation marks around the term purchased. This constitutes a failure to perform the

obligations of the Factoring Agreement and is a breach of contract. From September 12, 2015

through November 6, 2015, Debtors even sent an additional $924,504.65 to Republic for factoring

and were advanced nothing ($0.00) by Republic.

         142.   Republic also breached the Factoring Agreement when it applied a Termination Fee

on October 2, 2015, approximately one month before the contract’s actual termination on

November 5, 2015. Republic breached the Factoring Agreement when it refused to turnover funds

collected after the termination and in excess of its previous funding advances to the Debtors

because of an improper demand that the Debtors provide a release of liability. The Factoring

Agreement did not require the Debtors to provide a release upon termination. Republic further

breached the Factoring Agreement by continuing to demand performance from Debtors after the

contract had terminated, and by demanding Debtors continue to send their receivables to Republic



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and telling the industry and Debtors’ customers and potential customers and potential lenders the

Factoring Agreement was still in force and effect and that all payments should be sent to Republic.

         143.   Debtors have established that the failure to perform resulted in damages in the

amount of $__________________.

                2. Breach of the Duty of Good Faith and Fair Dealing.

         144.   Under Louisiana Law, “[c]ontracts must be performed in good faith.” See Louisiana

Civil Code Chapter 8, Section 1, Art. 1983; Grisaffi v. Dillard Department Stores, Inc., 43 F.3d

982, 983 (5th Cir. 1995) (“Good faith performance is an implied requirement of every contract

under Louisiana law.”). Republic did not engage in good faith performance of its contract and, as

a result, breached the duty of good faith and fair dealing.

         145.   Republic’s failure and breach of the duty of good faith and fair dealing resulted in

damages to the Debtors in the amount of $____________________.

                3. Fraud.

         146.   To establish a claim for fraud, the Debtors must prove by a preponderance of

evidence the following elements: (1) Republic made a representation to the Debtors; (2) the

representation was material; (3) the representation was false; (4) when Republic made the

representation, it either knew the representation was false or positively asserted the representation

recklessly and without knowledge of its truth; (5) Republic made the representation with the intent

that the Debtors act on it; (6) that the Debtors did rely on the representation; and (7) the

representation caused the Debtors injury. See Exxon Corp. v. Emerald Oil & Gas Co., 348 S.W.3d

194, 217 (Tex. 2011); Italian Cowboy Partners v. Prudential Ins., 341 S.W.3d 323, 337 (Tex.

2011).

         147.   Republic made numerous material representations to the Debtors related to the

Factoring Agreement and the relationship between the parties that would grow out of the execution

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of the Factoring Agreement. Republic made these representations with the intent to induce the

Debtors to enter into the Factoring Agreement and, more importantly, to keep the Debtors sending

in their receivables for factoring after Republic had made the non-disclosed decision to end the

factoring Agreement, not advance any funds to Debtors on their receivables so Republic could

fully collect and liquidate its position, to the detriment of the Debtors and their creditors.

         148.   Republic’s numerous material and false representations included the following:

         a.     Republic represented the Debtors would assign AR to Republic by submitting a

                schedule of such accounts to Republic via Republic’s online portal, and then

                Republic would advance funds based on the amount of those accounts.

         b.     Republic represented that Debtors would be entitled to 90% of the Accounts

                Receivable, and Republic would take its fees and expenses out of the 10% held

                back. On a monthly basis, Republic was supposed to return any balance from the

                holdback to Debtors.

         c.     Republic represented Debtors would have control of this 90% and decide how to

                and spend the 90% as they best saw fit to run and manage their businesses as would

                be expected. This is what Debtors bargained for and was exactly what they needed,

                to continue and to succeed.

         d.     Republic purposefully withheld information relating to their actual intentions,

                including but not limited to their intent to practice: declaring accounts ineligible

                for no reason other than to place Debtors in a default position; continually

                threatening Debtors with either no funding or foreclosure; wrongfully reducing

                funding to the Debtors, thereby constricting operations and cash flow and making

                it impossible for the Debtors to buy materials and deliver customers’ orders on time;



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                withholding payroll; taking over the paying of vendors and creditors and then

                paying vendors and creditors in arbitrary and capricious fashion; taking control of

                all business mail of Debtors, controlling and seizing the means of production;

                sending armed guards to intimidate and interfere with the duties of the employees

                of Debtors’ business.

         e.     Republic represented to Debtors it intended to help grow the Debtors’ business,

                when in reality, Republic’s only intention was to recover its principal investment

                and take as large a profit as possible through fees and penalties, no matter the cost

                to Debtors’ business.

         f.     Republic also represented to Debtors they would provide advances in order to pay

                employees, fund the business, and pay debts as they arose. Republic purposefully

                withheld knowledge that it would not do so, as the intent was to take all of the value

                of the Debtors’ business for itself.

         g.     Republic repeatedly misrepresented it would begin funding if Debtors would

                simply forward more account invoices for processing, or performed other acts

                harmful to Debtors but beneficial to Republic when Republic never did so and had

                no intention of doing so. Republic continued making these misrepresentations even

                after taking a Termination Fee on October 2, 2015 until Debtors finally stopped

                assigning accounts receivable on November 5, 2015.            Republic’s taking the

                Termination Fee was not disclosed to Debtors. Debtors forwarded an additional

                $487,431.76 to Republic for factoring after Republic took the undisclosed

                Termination Fee.




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          149.      Republic knew the misrepresentations were false when the representations were

made or Republic made the representations recklessly without the knowledge of the truth of the

representations as a positive assertion. Plaintiff established that but for these representations, the

Debtors would never have entered into the factoring arrangement pursuant to which Republic

wrecked the Debtors’ business or continued forwarding account invoices for processing on the

promise of continued funding when none was forthcoming.

          150.      The false representations caused significant financial injury to the Debtors,

including the loss of the value of the business. Plaintiffs have established by a preponderance of

the      evidence     that   the   damages    sustained   to   the   value   of   the   business   are

$____________________________. Plaintiffs have also established by a preponderance of the

evidence that the damages sustained as a result of invoices assigned to Republic based on

misrepresentations for which Debtors received no advances are the of the invoices so assigned,

$___________________________.

                    4. Negligent Misrepresentation.

          151.      The Debtors have also asserted companion claims for negligent misrepresentation.

To prevail on a negligent misrepresentation claim, the Debtors must establish that Republic (1)

made a representation to the Debtors in the course of their business or in a transaction in which

Republic had an interest; (2) the information supplied was false and for the guidance of the

Debtors; (3) that Republic did not exercise reasonable care or competence in communicating the

information; (4) the Debtors justifiably relied upon the statements from Republic; and (5) the

negligent misrepresentations proximately caused the Debtors’ injuries. See McCamish, Martin,

Brown & Loeffler v. F.E. Appling Interests, 991 S.W.2d 787, 791 (Tex. 1999); RESTATEMENT (2D)

OF TORTS § 552-552B (1977).




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         a.     Debtors have met their burden. Republic made numerous representations during the

                course of the relationship between the parties related to the Factoring Agreement

                and the performance of that agreement. Republic self-evidently had an interest in

                the transaction as a party to the Factoring Agreement and a financial interest in

                securing the most accounts receivable proceeds as possible to minimize their

                exposure on advances to the Debtors. Republic made at least the following

                misrepresentations: Republic represented the Debtors would assign AR to Republic

                by submitting a schedule of such accounts to Republic via Republic’s online portal,

                and then Republic would advance funds based on the amount of those accounts.

         b.     Republic represented that Debtors would be entitled to 90% of the Accounts

                Receivable, and Republic would take its fees and expenses out of the 10% held

                back. On a monthly basis, Republic was supposed to return any balance from the

                holdback to Debtors.

         c.     Republic represented Debtors would have control of this 90% and decide how to

                and spend the 90% as they best saw fit to run and manage their businesses as would

                be expected. This is what Debtors bargained for and was exactly what they needed,

                to continue and to succeed.

         d.     Republic purposefully withheld information relating to their actual intentions,

                including but not limited to their intent to practice: declaring accounts ineligible

                for no reason other than to place Debtors in a default position; continually

                threatening Debtors with either no funding or foreclosure; wrongfully reducing

                funding to the Debtors, thereby constricting operations and cash flow and making

                it impossible for the Debtors to buy materials and deliver customers’ orders on time;



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                withholding payroll; taking over the paying of vendors and creditors and then

                paying vendors and creditors in arbitrary and capricious fashion; taking control of

                all business mail of Debtors; controlling and seizing the means of production;

                sending armed guards to intimidate and interfere with the duties of the employees

                of Debtors’ business.

         e.     Republic represented to Debtors it intended to help grow the Debtors’ business,

                when in reality, Republic’s only intention was to recover its principal investment

                and take as large a profit as possible through fees and penalties, no matter the cost

                to Debtors’ business.

         f.     Republic also represented to Debtors they would provide advances in order to pay

                employees, fund the business, and pay debts as they arose. Republic purposefully

                withheld knowledge that it would not do so, as the intent was to take all of the value

                of the Debtors’ business for itself.

         g.     Republic repeatedly misrepresented it would begin funding if Debtors would

                simply forward more account invoices for processing, or performed other acts

                harmful to Debtors but beneficial to Republic when Republic never did so and had

                no intention of doing so. Republic continued making these misrepresentations even

                after taking a Termination Fee on October 2, 2015 until Debtors finally stopped

                assigning accounts receivable on November 5, 2015.            Republic’s taking the

                Termination Fee was not disclosed to Debtors. Debtors forwarded an additional

                $487,431.76 to Republic for factoring after Republic took the undisclosed

                Termination Fee.




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         152.   The foregoing representations were false when made and Republic did not exercise

due care in communicating them to the Debtors. In turn, the Debtors acted in justifiable reliance

on the representations believing that they would receive additional funding and funding at the

levels expressed in the Factoring Agreement, which would have enabled the Debtors to salvage

their business at the end of 2015. As a result of Republic’s statements and conduct, the Debtors

were proximately caused and suffered damages relating to the loss of the value in their business in

the amount of $_______________________.

                5. Deceptive Trade Practices.

         153.   The Debtors were Texas businesses doing business in Texas. Texas law provides a

remedy for individuals or corporations that were the victim of deceptive trade practices in the

Texas Deceptive Trade Practices Act (“DTPA”). See Tex. Bus. & Com. Code §§ 17.41-17.63.

Republic, Hunt, and Cafarelli were consumers within the meaning of the DTPA because they

sought or acquired certain services in connection with the Factoring Agreement and did not have

assets in excess of $25 million. See Tex. Bus. Com. Code § 17.45(10).

         154.   Republic is a person under the DTPA and is capable of being sued for deceptive

practices related to the services it provided and/or required the Debtors under the Factoring

Agreement. See Tex. Bus. & Com. Code § 17.45(3).

         155.   Republic made numerous misrepresentations regarding its services and the

Factoring Agreement that qualify as false, misleading, or deceptive, including:

         a.     Republic represented the Debtors would assign AR to Republic by submitting a

                schedule of such accounts to Republic via Republic’s online portal, and then

                Republic would advance funds based on the amount of those accounts.

         b.     Republic represented that Debtors would be entitled to 90% of the Accounts

                Receivable, and Republic would take its fees and expenses out of the 10% held

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                back. On a monthly basis, Republic was supposed to return any balance from the

                holdback to Debtors.

         c.     Republic represented Debtors would have control of this 90% and decide how to

                and spend the 90% as they best saw fit to run and manage their businesses as would

                be expected. This is what Debtors bargained for and was exactly what they needed,

                to continue and to succeed.

         d.     Republic purposefully withheld information relating to their actual intentions,

                including but not limited to their intent to practice: declaring accounts ineligible

                for no reason other than to place Debtors in a default position; continually

                threatening Debtors with either no funding or foreclosure; wrongfully reducing

                funding to the Debtors, thereby constricting operations and cash flow and making

                it impossible for the Debtors to buy materials and deliver customers’ orders on time;

                withholding payroll; taking over the paying of vendors and creditors and then

                paying vendors and creditors in arbitrary and capricious fashion; taking control of

                all business mail of Debtors; controlling and seizing the means of production;

                sending armed guards to intimidate and interfere with the duties of the employees

                of Debtors’ business.

         e.     Republic represented to Debtors it intended to help grow the Debtors’ business,

                when in reality, Republic’s only intention was to recover its principal investment

                and take as large a profit as possible through fees and penalties, no matter the cost

                to Debtors’ business.

         f.     Republic also represented to Debtors they would provide advances in order to pay

                employees, fund the business, and pay debts as they arose. Republic purposefully



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                withheld knowledge that it would not do so, as the intent was to take all of the value

                of the Debtors’ business for itself.

         g.     Republic repeatedly misrepresented it would begin funding if Debtors would

                simply forward more account invoices for processing, or performed other acts

                harmful to Debtors but beneficial to Republic when Republic never did so and had

                no intention of doing so. Republic continued making these misrepresentations even

                after taking a Termination Fee on October 2, 2015 until Debtors finally stopped

                assigning accounts receivable on November 5, 2015.            Republic’s taking the

                Termination Fee was not disclosed to Debtors. Debtors forwarded an additional

                $487,431.76 to Republic for factoring after Republic took the undisclosed

                Termination Fee.

         156.   Republic’s conduct with respect to the Debtors constituted an unconscionable

course of action and was commercially unreasonable. See Tex. Bus. & Com. Code § 17.50(a)(3).

An unconscionable act is one that, to a consumer’s detriment, takes advantage of the consumer’s

ability or lack of knowledge to a grossly unfair degree. See Tex. Bus. & Com. Code § 17.45(5).

To prove an unconscionable action or course of action, the plaintiff must show the resulting

unfairness was “glaringly noticeable, flagrant, complete and unmitigated.” Bradford v. Vento, 48

S.W.3d 749, 706 (Tex. 2001).

         157.   Republic’s conduct was a producing cause of the Debtors’ damages. A producing

cause requires that the act be both a cause-in-fact and a substantial factor in causing the Debtors’

injuries. See Brown v. Bank of Galveston, 963 S.W.2d 511, 514 (Tex. 1998). Republic’s conduct

and deceptive practices caused the Debtors to lose basically their entire cashflow at precisely the

moment the plaintiffs needed it the most. Republic’s actions were a cause in the natural sequence



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of events that led to both the direct loss of funds related to accounts, but also to the ultimate demise

of the business itself. As a result, Plaintiffs were damaged and should be awarded

$_______________________________.

         158.   Republic committed the foregoing acts knowingly and intentionally. See Tex. Bus.

& Com. Code § 17.45(9) and (13). Republic was aware of the unfairness of its actions and

specifically intended to deprive the Debtors of the ability to collect accounts that it otherwise

should have been able to collect. Based on Republic’s conduct, the Debtors are entitled to treble

economic damages in the amount of three times the actual damages found in paragraph 91, plus

the Trustee Plaintiff’s attorneys’ fees in paragraph 93.

         159.   The DTPA permits a prevailing plaintiff to be awarded reasonable and necessary

fees. Plaintiffs are the prevailing parties and, as such, are entitled to attorneys’ fees in the amount

of $________________.

         160.   The legal analysis and result would not be dissimilar under the Louisiana Deceptive

Trade Practices Act, La. Rev. Statues §1:1401 et seq.

                6. Business Disparagement.

         161.   The Debtors have asserted business disparagement claims. A business

disparagement claim requires a plaintiff to establish that (1) the defendant published disparaging

words about the plaintiff’s economic interests; (2) the words were false; (3) the defendant acted

with malice; (4) the defendant acted without privilege; and (5) the publication caused special

damages. See Forbes, Inc. v. Granada Biosciences, Inc., 124 S.W.3d 167, 170 (Tex. 2003);

Hurlbut v. Gulf Atl. Life Ins., 749 S.W.2d 762, 766 (Tex. 1997). A defendant acts with malice

when it (1) knows the statement in question is false; (2) acts with reckless disregard for whether

the statement is true; (3) acts with ill will; or (4) intends to interfere with the plaintiff’s economic



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interest. Hurlbut, 749 S.W.2d at 766. Special damages include losses the plaintiff has suffered or

liquidated (e.g., loss of specific sales or accounts). Id.

         162.   In late 2015, Republic continued to tell third party vendors that it owned the

Debtors’ accounts receivable and that all payments on the accounts should be made directly to

Republic, despite the fact that (a) Republic had long since stopped advancing funds under the

Factoring Agreement, (b) had taken a $75,000 Termination Fee it was entitled to only if the

contract was terminated, and (c) determined to begin maximizing collection efforts at the expense

of the Debtors’ business interests. After the termination of the agreement on November 5, 2015,

Republic did not “own” any rights to proceeds that were generated after November 5, 2015 and,

as a result, its statements to third parties were both false and without any privilege. The statements

impacted with the economic interests of the Debtors. Republic acted with malice in that they

intended to interfere with the Debtors’ economic interest in the receivables and made a concerted,

intentional effort to divert those funds to itself.

         163.   The Debtors suffered special damages in the loss of direct proceeds related to

receivables that Republic no longer had any rights to collect from in the amount of approximately

$_________________________, and damages of lost orders and future business which was part

of the overall demise of the business and loss of a business value.

                7. Fraudulent transfers.

         164.   The Debtors may avoid any transfer of an interest of the Debtors in property that

was made within four years before the Petition Date in exchange for less than reasonably

equivalent value because the Debtors were insolvent at the time. See 11 U.S.C. §

548(a)(1)(B)(ii)(I); Tex. Bus. & Comm. Code § 24.006(a).

         165.   Republic’s conduct rendered the Debtors insolvent by no later than September 11,

2015, so the Debtors were engaging in a business or transactions, or were about to engage in a

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business or transactions, for which their capital was unreasonably small. See 11 U.S.C.

548(a)(1)(B)(ii)(II); Tex. Bus. & Comm. Code § 24.005(a).

         166.    Under the terms of the Factoring Agreement, Republic would “purchase” accounts

receivable based on an assignment schedule provided by the Debtors. The so-called consideration

for the “purchase” of these accounts was an obligation to advance funds up to 90% of the Net

Aggregate Face Value. Republic ceased advancing funds on September 11, 2015 and, as a result,

stopped providing any consideration, much less reasonably equivalent value to the Debtors in

exchange for their accounts receivable. Republic continued to collect funds, however, after

September 11, 2015 on accounts it had already “purchased” and continued to do so, despite

becoming over-collected within a few weeks.

         167.    The transfer of accounts after September 11, 2015 to Republic for which the

Debtors received no further funding advances or any consideration whatsoever constitute voidable

fraudulent transfers. The collection of proceeds in excess of funds advanced or loaned to Republic

also constitute avoidable fraudulent transfers in property in which the Debtors have an interest. A

plaintiff is entitled to recover the value of the fraudulent transfer if it is avoided under Sections

544 and 548 of the Bankruptcy Code. See 11 U.S.C. § 550. The value of the avoidable transfers

Republic owes the Debtors and, thus, the Debtors’ damages with respect to the fraudulent transfers

is $_______________________________________. This also entitles Trustee to recover his

attorney’s fees under the Texas Fraudulent Conveyance Statute, TEX. BUS. & COMM. CODE §

24.005 et seq.

                 8. Conversion

         168.    The Debtors may recover for monies that Republic unlawfully converted through

their abuse of the Factoring Agreement. In Texas, conversion occurs when (a) the plaintiff owned,

possessed, or had the right to immediate possession of property; (b) the property was personal

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property; (c) the defendant wrongfully exercised dominion or control over the property; and (d)

the plaintiff suffered injury. See Green Int’l v. Solis, 951 S.W.2d 384, 391 (Tex. 1997); Dolenz v.

Continental Nat’l Bank, 620 S.W.2d 572, 576 n.2 (Tex. 1981).

         169.   Debtors owned, continue to own, and had and have a right to immediate possession

of the monies and accounts taken after the termination of the contract on November 5, 2015. The

Funds and the Debtors’ accounts are personal property. Republic wrongfully exercised and

continues to wrongfully exercise control over the Funds and the Debtors’ accounts. The Debtors

suffered injury as a result of Republic’s wrongful actions in the amount of the funds wrongfully

possessed. The Court previously ruled that $82,121.58 in funds were improperly withheld or

possessed by Republic and these amounts are determined to be converted funds. See Order

Regarding Trustee’s Motion to Enforce Order and Compel Turnover, dated June 25, 2020 (ECF #

298). Additionally there were funds wrongfully taken and withheld for bogus fees, charges,

penalties, and payments charged that were not owed. There were also converted by Republic.

                9. Theft

         170.   Based on this same conduct, Republic has committed theft within the meaning of

Tex. Penal Code § 31.03 because it unlawfully appropriated the Funds and the Debtors’ accounts

with the intent to deprive the Debtors of the funds. Republic therefore committed theft within the

meaning of Tex. Civ. Prac. & Rem. Code § 134.002. Republic is liable for damages and penalties

resulting from such theft. See Tex. Civ. Prac. & Rem. Code § 134.003.

         171.   The Debtors are entitled to damages related to the civil theft in the amount of at

least $______________________. The Debtors are also entitled to a $1000 penalty payment for

each account that was taken unlawfully. See Tex. Civ. Prac. & Rem. Code § 134.005(a)(1).

Republic unlawfully took ____ accounts receivable and is assessed a penalty of $____________

to be paid to the Debtors. This also entitles the Trustee to recover his attorneys fees.

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                10. Tortious Interference with Contractual Relationships

         172.   In Texas, a party bringing suit for tortious interference with a contract must prove

four elements: (1) a contract subject to interference exists; (2) the act of interference was willful

and intentional; (3) the intentional act proximately caused the plaintiff's damage; and (4) actual

damage or loss occurred. See Butnaru v. Ford Motor Co., 84 S.W.3d 198, 207 (Tex. 2002).

         173.   The Debtors had valid contracts with their customers and vendors, including

Trelleborg. Republic willfully and intentionally interfered with those contracts by, for example,

claiming that Trelleborg should not pay the Debtors; threatening Trelleborg with litigation if

Trelleborg were to pay the Debtors; and intentionally and wrongfully withholding funds from the

Debtors, thereby causing the Debtors to be unable to fulfill orders. Republic also interfered with

Debtors’ relationship with its vendors by not allowing Debtors to pay them in a manner to keep

them supplying Debtors.

         174.   As the conclusions of law and findings of fact above demonstrate, Republic’s

conduct is independently tortious because it constituted conversion, business disparagement, fraud

and deceptive trade practices.

         175.   Republic’s interference caused significant financial injury to the Debtors. For

example, Republic’s ongoing interference drove away large customers like Trelleborg and made

it impossible for the Debtors to fill orders from customers large and small because of interference

with its vendors and thereby stay in business. Republic’s actions directly and proximately caused

the failure of Debtors’ business resulting in damages in the amount of $___________________.

                11. Tortious Interference with Prospective Business Relations

         176.   To succeed on a claim for tortious interference with a prospective contract, the

Debtors must prove: (1) there was a reasonable probability that the plaintiff would have entered

into a business relationship with a third person; (2) the Defendant intentionally interfered with the

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relationship; (3) the Defendant’s conduct was independently tortious or unlawful; (4) the

interference proximately caused the Plaintiff’s injury; (5) the Plaintiff suffered actual damage or

loss. Coinmach Corp. v. Aspenwood Apt. Corp., 417 S.W.3d 909, 923 (Tex. 2013). While the

claim doesn’t require an actual business relation to have formed, a Plaintiff must establish it had:

(1) a business relationship that had not yet been reduced to a contract; or (2) a continuing business

relationship that was not formalized by a written contract. Heil-Quaker Corp. v. Mischer Corp.,

863 S.W.2d 210, 214 (Tex.App.—Houston [14th Dist.] 1993).

           177.    Republic’s wrongful exercise of control over the Debtors and their capital likewise

prevented the Debtors from having access to cash and took away the Debtors’ ability to manage

their own business. Republic’s efforts continued after the Debtors filed bankruptcy through their

wrongful and bad faith claim that the factoring agreement was still in effect and that Republic

owned all of the Debtors’ receivables (long after Republic had been paid in full). Republic’s

conduct prevented the Debtors from entering into future contracts or continued relationships with

its      vendors   and    customers.      The      Debtors   were   damaged    in   the   amount   of

$______________________ due to Republic’s tortious interference with prospective relations.

                   12. Violation of the Automatic Stay

           178.    A party violates the automatic stay by undertaking “any act to obtain possession of

property of the estate or of property from the estate or to exercise control over property of the

estate.” 11 U.S.C. § 362(a)(3). A party violates the automatic stay by undertaking “any act to

create, perfect, or enforce any lien against property of the estate.” 11 U.S.C. § 362(a)(4). A party

violates the automatic stay by undertaking “any act to collect, assess, or recover a claim agains the

debtor that arose before the commencement of the [bankruptcy case].” 11 U.S.C. § 362(a)(6). A

party violates the stay by attempting “the setoff of any debt owing to the debtor that arose before

the commencement of the case . . . against any claim against the debtor.” 11 U.S.C. § 362(a)(7).

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Finally, a party violates the stay if they exercise control over property to which the debtor has even

an arguable claim of right. See Brown v. Chesnut (In re Chesnut), 422 F.3d 298 (5th Cir. 2005)

(“Here, we face the question whether the creditor violates the stay if, without permission of the

bankruptcy court, he forecloses on an asset to which the debtor has only an arguable claim of right

…. We answer in the affirmative ….”).

         179.   Willful violations of the automatic stay are punishable by the Court’s inherent

contempt power and the authority vested in the Bankruptcy Court under Section 105(a) of the

Bankruptcy Code. See In re MD Promenade, Inc., 2009 WL 80203, at *12 (Bankr. N.D. Tex.

2008) (unpublished) (“However, this court may award damages to a corporate debtor (or, in this

case, the trustee of the estate of a corporate debtor) in the form of contempt sanctions in order to

enforce this court's civil contempt power pursuant to this court's equitable authority under section

105(a).” (emphasis in orig)). An individual debtor may recover actual damages, including costs

and attorneys’ fees, and potentially exemplary damages for willful violations of the automatic stay.

11 U.S.C. § 362(k).

         180.   Republic acted willfully in its efforts to ensure collections were prioritized for its

benefit to the detriment of the Debtors and the bankruptcy estate in violation of Republic’s

agreements and representations. Republic violated the automatic stay by demanding post-petition

that certain vendors (e.g., Trelleborg) not pay the Debtors but pay Republic directly instead. The

Debtors clearly owned those receivables and had more than an arguable claim of right to the

proceeds from Trelleborg and other accounts receivable vendors generated after the November 5,

2015 termination date of the Factoring Agreement. Republic’s efforts to direct these proceeds be

paid directly to it instead of the Debtor or the bankruptcy estate was a willful violation of the

automatic stay.



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         181.   Republic also willfully violated the automatic stay by refusing to turn over cash it

held after the bankruptcy cases were commenced, which cash the Court has already ordered be

turned over to the Debtors pursuant to a turnover motion in the bankruptcy case and by continuing

to insist the Agreement was still in effect after it had taken a Termination Fee and had no intention

of advancing any more funds, even after Debtors had filed for Chapter 11, and telling existing

customers, future customers and potential lenders and investors that.

         182.   The Debtors were damaged as follows: One element of the Debtors’ damage is the

$88,000, which represents the amount of money that is known to have been wrongfully collected

and withheld from the Debtors by Republic. The second element of damages comes from the

effect the lack of these funds had on the Debtors’ ability to continue in business, as previously

found, and the failure of the Debtors to successfully reorganize under Chapter 11. It is appropriate

that all of the administrative expenses in the amount of $_________ be charged as damages for

breach of the automatic stay against Republic. Because of Republic’s willful conduct, punitive

damages in the amount of three times that amount ($____________) are justified and awarded in

the Court’s discretion. The Court also awards costs and attorneys’ fees in the amount of Two

Hundred Fifty Thousand Dollars ($250,000) related to the Plaintiffs’ efforts to enforce the

automatic stay.

                13. Partnership Liability.

         182.   Under section 152.051(b) of the Texas Business Organizations Code, “an

association of two or more persons to carry on a business for profit as owners creates a partnership,

regardless of whether: (1) the persons intend to create a partnership; or (2) the association is called

a ‘partnership,’ ‘joint venture,’ or other name.” Section 152.052 of the Texas Business

Organizations Code provides as follows:



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                (a) Factors indicating that persons have created a partnership
                include the persons’:
                        (1) receipt or right to receive a share of profits of the
                        business;
                        (2) expression of an intent to be partners in the business;
                        (3) participation or right to participate in control of the
                        business;
                        (4) agreement to share or sharing:
                                 (A) losses of the business; or
                                 (B) liability for claims by third parties against the
                                 business; and
                        (5) agreement to contribute or contributing money or
                        property to the business.
                (b) One of the following circumstances, by itself, does not indicate
                that a person is a partner in the business;
                        (1) the receipt or right to receive a share of profits as
                        payment:
                                 (A) of a debt, including repayment by installments;
                                 (B) of wages or other compensation to an employee
                                 or independent contractor;
                                 (C) of rent;
                                 (D) to a former partner, surviving spouse or
                                 representative of a deceased or disabled partner, or
                                 transferee of a partnership interest;
                                 (E) of interest or other charge on a loan, regardless
                                 of whether the amount varies with the profits of the
                                 business, including a direct or indirect present or
                                 future ownership interest in collateral or rights to
                                 income, proceeds, or increase in value derived from
                                 collateral; or
                                 (F) of consideration for the sale of a business or
                                 other property, including payment by installments;
                        (2) co-ownership of property, regardless of whether the co-
                        ownership:
                                 (A) is a joint tenancy, tenancy in common, tenancy
                                 by the entirety, joint property, community property,
                                 or part ownership; or
                                 (B) is combined with sharing of profits from the
                                 property;
                        (3) the right to share or sharing gross returns or revenues,
                        regardless of whether the persons sharing the gross returns
                        or revenues have a common or joint interest in the property
                        from which the returns or revenues are derived; or
                        (4) ownership of mineral property under a joint operating
                        agreement.



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                (c) An agreement by the owners of a business to share losses is not
                necessary to create a partnership.

         183.   Under section 152.304(a) of the Texas Business Organizations Code, generally

speaking, “all partners are jointly and severally liable for all obligations of the partnership ….”

         184.   Republic received a share of the Debtors’ profits by charging various fees and

expenses to the Debtors’ account, and, in fact, Republic claims it is entitled to receive and retain

all the Debtors revenue into perpetuity until the Debtors sign a general release satisfactory to

Republic. Through threats, intimidation, breaches of duties and purported contractual terms and

misrepresentations, Republic did, in fact, illegally exercise excessive control over the Debtors’

business and caused the Debtors not to be able to pay many of their creditors, ultimately resulting

in these bankruptcy cases, by, inter alia, controlling the Debtors’ accounts payable and vendor

payments, refusing to make or fund the Debtors’ payroll, refusing to permit certain employees to

draw a salary, installing armed security guards and cameras at the Debtors’ facility, fabricating

alleged “thefts” of materials and sending police to the Debtors’ facility in an effort to manipulate

and intimidate the Debtors’ employees and management, paying the Debtors’ utilities and vendors

directly, and otherwise dealing directly with the Debtors’ customers and vendors.

         185.   From early-July 2015 through mid-September 2015, Republic controlled virtually

every major component of the Debtors’ business:

                 Republic paid the Debtors’ employees directly;

                 Republic decided which employees would be paid;

                 Republic decided which employees were “absolutely necessary;”

                 Republic ordered layoff of employees;

                 Republic hired security personnel and installed cameras at the Debtors’ facility;

                 Republic required the Debtors’ vendors to enter into “Three Party Payment
                  Agreements,” under which Republic imposed terms on the vendors;


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                 Republic paid the Debtors’ vendors directly;

                 Republic determined when and what raw materials the Debtors purchased; and

                 Republic controlled the Debtors’ purchase of basic business supplies.

         186.   As a result of Republic directly causing damage to the Debtors’ creditors through

its control of the Debtors, its receipt of profits, and its contribution of money or property to the

Debtors’ business, Republic is directly liable to the Debtors’ creditors for any such damages as a

de facto partner. Because Republic is a de facto partner of the Debtors, it is jointly and severally

liable for the debts of the bankrupt entities, including the administrative costs associated with the

bankruptcy filing for the benefit of the creditors. Republic is jointly and severally liable for

$__________ in unpaid creditor claims and $______________ in administrative expenses

allowable pursuant to the Bankruptcy Code.

                14.      Breach of Fiduciary Duty

         187.   To establish a claim for breach of fiduciary duty, the Debtors must prove by a

preponderance of evidence that (1) the parties were in a fiduciary relationship; (2) that Republic

breached its fiduciary duty to the Debtors; and (3) the breach resulted in injury to the plaintiff or

benefit to the defendant. See Burrow v. Arce, 997 S.W.2d 229, 237 (Tex. 1999).

         188.   A court may find a fiduciary duty as a matter of law or fact based on the formal or

informal relationships of the parties. Under section 152.204 of the Texas Business Organizations

Code, a partner in a partnership owes the partnership and the other partners a duty of loyalty and

a duty of care. A partner must exercise these duties “(1) in good faith; and (2) in a manner the

partner reasonably believes to be in the best interest of the partnership.” The Court has already

determined that Republic was a de facto partner of the Debtors and, as a result, owed fiduciary

duties to its partner.




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         189.   To the extent that ¶ 12.6 of the Factoring Agreement purports to limit Republic’s

liability in advance for intentional or gross fault, it is null under La. Civ. Code ann. ¶ 2004. As a

result of being a de facto partner in the Debtors’ business, Republic owed fiduciary duties to the

Debtors, including the duty of care, the duty of loyalty, the duty to act fairly, and the duty of good

faith and fair dealing. Republic breached these duties by using its control over the Debtors’

business to steal from the Debtors. Republic’s breaches of fiduciary duty and the resulting theft

have significantly damaged the Debtors’ business because the breaches resulted in the loss of the

business value of the Debtors. Republic is liable for damages related to the loss in value of the

Debtors in the amount $_______________________________.

                15. Equitable Subordination

         190.    Equitable subordination, first recognized at common law, is codified in Section

510(c) of the Bankruptcy Code and provides, in relevant part:

                after notice and a hearing, the court may ... under principles of
                equitable subordination, subordinate for purposes of distribution all
                or part of an allowed claim to all or part of another allowed claim or
                all or part of an allowed interest to all or part of another allowed
                interest ...

         191.   The elements of equitable subordination in the Fifth Circuit as follows: (1) the

claimant must have engaged in inequitable conduct; (2) the misconduct must have resulted in

injury to the creditors or conferred an unfair advantage to the claimant; and

(3) equitable subordination of the claim must not be inconsistent with the provisions of the

Bankruptcy Code. See Wooley v. Faulkner (In re SI Restructuring, Inc.), 532 F.3d 355, 360 (5th

Cir. 2008). Further, “[e]quitable subordination is remedial, not penal, in nature, and in the absence

of actual harm, equitable subordination is inappropriate.” Id. at 361. Equitable subordination does

require some level of actual harm to the Debtors and its unsecured creditors. See id. at 361-62.




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         192.   Republic’s conduct satisfies the elements of equitable subordination and the claims

of Republic are deemed subordinated to all other classes of creditors and interests. Republic’s

conduct related to the Debtors was inequitable. Republic took advantage of its financial

relationship with the Debtors so as to ensure that it was over-collected and during a time of

financial distress or crisis at the Debtors. Republic’s charging of a secret termination fee, refusal

to advance funds on invoices assigned to it while simultaneously collecting proceeds to repay itself

for advances to the Debtors caused actual harm to the Debtors and the trade creditors of the

Debtors. Subordinating Republic’s claims is consistent with the purposes of the Bankruptcy Code.

                16. Attorneys’ Fees

         193.   Trustee has shown himself entitled to recover his attorneys’ fees under:

         a.     TEXAS BUSINESS AND COMMERCE CODE § 24.013 in the amount of ____________.

         b.     TEXAS CIVIL PRACTICE        AND    REMEDIES CODE §§ 38.001 and 134.005(b) in the

                amount of ____________.

         c.     the Court’s contempt power in the amount of ______________.

         d.     under the TEXAS DECEPTIVE TRADE PRACTICES ACT on any other Deceptive Trade

                Practices Act that applies in the amount of _______________.

                17. Exemplary Damages

         194.   By clear and convincing evidence, the Trustee has shown himself entitled to

exemplary damages under Texas Civil Practice and Remedies Code § 41.003 because Republic

acted with fraud, malice, and gross negligence in causing the Debtors damages as set forth above.




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Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on this 17th day of December 2020, a true and correct

copy of the foregoing was served on counsel of record via e-mail.

                                                   /s/ Jerry C. Alexander
                                                   Jerry C. Alexander




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